(Rev. l/l 8) Petition for Admission Pro Hac Vice

IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF MISSOURI

PETITION FOR ADMISSION PRO HAC VICE
Affidavit of Movant

I, LEE C- TIEMAN , an active member in good standing of the Bar of the United States
District Court for the Western District of Missouri, request that this court admit p_ro hac vice,
DOUGLAS A. FOSS , an attorney admitted to practice in a United States District Court, but not admitted to the
Bar of this court, Who Will be counsel for the Thil‘d-Parfy D€f€rld&nt , in the case(s) listed beloW. I am aware that the

local rules of th court require that l participate in the preparation and presentation of said case(s), and that l accept
service of all gaps served. l also understand and agree that if the admittee does not sign up to receive CM/ECF filings, I

 

 

 

   
 

 

 

 

 

 

 

Will be r s nsi/ble?) thmniittee of all papers served by Cl\/l/ECF.
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, ’/Q(; g ¢£Mq/jm §§ § § 3
Signature of Movant/Attorney _. 4 MO Bar Number
April 29, 2019 Tieman, Spencer & Hicks
Date Address
(816) 279-3000 702 Felix Street
Phone

St. Joseph, MO 64501

 

Affldavit of Proposed Admittee

L DOUGLAS A. FOSS , certify that I reside outside the
boundaries of the Western District of Missouri and I am not admitted to the Bar of this court. l am a member in good
standing in the state(s) of N€W YOrk and the United States District Court(s) of
Eastem, Western, Northern and Southem Districts of New York . (Attach additional page if necessary.)
Pursuant to Local Rule 83.5(h), l certify l am a member in good standing in all bars of Which I am a member. l
understand that if this court grants me admission p_ro hac vice, the movant bringing this motion must participate in the
preparation and presentation of the matters listed below, and must accept service of all papers served. l am aware that l
can register to receive CM/ECF filings I understand and agree that should I choose not to register for CM/ECF, IWill
arrange With movant to keep me advised of papers served and filed in this case.

 

 

Case Number(s): Case Title(s)
5 :lS-cv-06147-BCW VetBridge Product Development Subsidiary l (NM-OMP), LLC

V. NcWMarket Pharmaceuticals, LLC; and Newl\/larket Phamiaceuticals, LL(_:
v. VetPharm, lnc., Third-Party Defendant.

 

 

 

 

 

 

Date: April 29, 2019 Signature:

 

 

   

State Bar of Residence & Bar Number: Address: HARRIS BEACH PLLC '
New York Bar Roll #: l66l7l9

 

99 Garnsey Road, Pittsford, NY 14534

 

Phone: (585) 419-8612 Email: dfoss@hariisbeach.com

 

Pursuant to WDMO Local Rule 83.5(h) a fee of $100 is required for each case in Which the attorney is seeking
admittance

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